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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 Scott A. Holman,                                       Case No.: 20-CV-00224 (PJS/LIB)

                      Plaintiff,

 v.

 Lauri A. Ketola, individually and in her
 official capacity as County Attorney               Motion for Summary Judgment by
 for Carlton County; County of                     Defendants Kerry E. Kolodge, City of
 Carlton, Minnesota, a municipal                    Cloquet and Lauri A. Ketola, in her
 corporation; Kerry E. Kolodge,                               CAB capacity
 individually and in his official capacity as
 Cloquet City Council Member; and
 City of Cloquet, Minnesota, a
 municipal corporation,

                      Defendants


       Pursuant to Fed. R. Civ. P. 56, and based upon all the files, records, and proceedings

herein, including Affidavits and Memorandum of Law, Defendants Kerry E. Kolodge, City

of Cloquet and Lauri A. Ketola in her CAB capacity (City Defendants) move this Court for

an Order granting summary judgment dismissal of the Complaint and all of Plaintiff’s

claims therein on the merits and with prejudice.

       After the now dismissed Count Attorney designated Plaintiff a Brady-Giglio officer

and advised that she would not prosecute matters in which Plaintiff was involved, a quorum

of Defendant City of Cloquet’s City Council, terminated Plaintiff’s law enforcement

position on June 14, 2019. Although the complaint states seven claims in total against City

Defendants, the thrust of the complaint is that Plaintiff claims that City Defendants
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retaliated against him for Facebook comments he posted in 2017 criticizing then CAB

member Lauri Ketola and City Councilmember Kerry Kolodge. Summary judgment

dismissal of all claims against City Defendants is merited because all actions taken by City

Defendants were lawful, based on rational and legitimate reasons, and carried out in

properly noticed and privileged forums.


Dated: March 30, 2022                         Kennedy & Graven, Chartered
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                                              Attorneys for Defendants Kerry E.
                                              Kolodge, City of Cloquet, and Lauri
                                              Ketola in her capacity as an appointed
                                              volunteer to the CAB
